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                 EXHIBIT C




                                                                  Exhibit C
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Movant's Purchases and Losses             Case 3:17-cv-00558-SRU Document 23-3 Filed 01/05/17 Page 2 of 7                                          Teva Pharmaceutical

                                                          Shares   Share          Total                      Shares     Share        Total                Total
Name                                          Date       Purchased Price          Cost           Date**       Sold      Price      Proceeds            Gain (Loss)*
College Retirement Equities Fund - CREF
Growth Account                              12/03/2015    104,219    $62.50   $6,513,687.50    03/10/2016    8,039      $58.70    $471,877.24
                                            12/09/2015     5,794     $64.87    $375,869.53     03/30/2016    6,494      $55.38    $359,637.72
                                            12/09/2015     83,038    $64.90   $5,389,249.24    04/26/2016    8,106      $54.94    $445,331.48
                                            12/11/2015     39,989    $64.49   $2,578,718.66    04/26/2016    14,457     $54.97    $794,653.58
                                            12/14/2015     8,012     $64.36    $515,662.74     04/26/2016    55,552     $54.85   $3,046,788.33
                                            12/14/2015     8,439     $64.80    $546,856.48     04/26/2016    56,522     $54.70   $3,091,713.83
                                            12/14/2015     29,006    $64.34   $1,866,272.15    05/23/2016     113       $51.14     $5,778.76
                                            12/14/2015     48,671    $64.86   $3,156,606.38    05/23/2016    11,017     $51.17    $563,758.62
                                            12/14/2015     57,873    $64.53   $3,734,330.56    05/23/2016    28,265     $51.22   $1,447,854.84
                                            01/04/2016       55      $65.08      $3,579.40     05/23/2016    46,864     $51.26   $2,402,061.18
                                            01/04/2016      984      $65.14     $64,096.28     05/24/2016    28,643     $51.97   $1,488,482.19
                                            01/04/2016     3,036     $65.00    $197,330.59     05/24/2016   112,886     $51.77   $5,843,769.56
                                            01/04/2016     8,925     $65.15    $581,476.24     05/25/2016    78,631     $51.82   $4,074,619.10
                                            01/04/2016     15,921    $65.21   $1,038,128.81    06/27/2016    5,660      $48.40    $273,947.40
                                            01/04/2016     31,268    $65.12   $2,036,031.45    06/27/2016    14,214     $48.29    $686,322.99
                                            01/04/2016     33,927    $65.10   $2,208,647.70    06/27/2016    14,214     $48.56    $690,231.84
                                            01/04/2016     91,008    $64.90   $5,906,701.32    06/27/2016    16,801     $48.45    $814,075.65
                                            01/07/2016     5,789     $64.50    $373,419.44     06/27/2016   130,988     $48.52   $6,355,367.48
                                            01/07/2016     5,789     $64.72    $374,693.02     06/28/2016    2,843      $49.23    $139,975.10
                                            01/07/2016     13,331    $64.73    $862,926.29     06/28/2016    10,700     $49.17    $526,093.32
                                            01/07/2016     67,753    $64.71   $4,384,316.96    06/28/2016    47,188     $49.21   $2,321,970.48
                                            01/22/2016     17,628    $63.26   $1,115,119.08    07/11/2016    2,557      $51.05    $130,533.06
                                            01/22/2016     63,676    $62.69   $3,991,689.25    07/11/2016    57,126     $51.05   $2,916,493.67
                                            01/25/2016     15,408    $63.14    $972,874.99     07/12/2016    30,114     $51.95   $1,564,416.28
                                            01/25/2016     39,754    $62.93   $2,501,866.31    07/12/2016   180,032     $51.79   $9,324,001.31
                                            01/28/2016     3,407     $60.19    $205,050.30     07/14/2016    31,602     $54.91   $1,735,347.99
                                            01/28/2016     13,572    $60.27    $817,972.23     07/14/2016   180,831     $54.81   $9,912,215.10
                                            01/28/2016     13,998    $60.13    $841,722.14     07/15/2016    17,333     $54.29    $941,012.04
                                            01/28/2016     73,131    $60.19   $4,401,871.90    07/15/2016    75,532     $54.27   $4,099,401.11
                                            01/28/2016    170,000    $60.39   $10,265,892.00   07/26/2016    31,115     $54.22   $1,687,207.76
                                            02/04/2016     21,431    $59.88   $1,283,213.27    07/27/2016   185,036     $54.79   $10,137,437.81
                                            02/04/2016     97,560    $59.84   $5,837,766.01    07/28/2016    13,849     $54.99    $761,591.13
                                            02/05/2016      577      $59.29     $34,212.06
                                            02/05/2016     15,208    $59.70    $907,978.43
                                            04/05/2016     15,652    $54.17    $847,890.75
                                            04/05/2016     22,021    $54.14   $1,192,157.48
                                            04/05/2016     46,109    $54.13   $2,496,106.10
                                            05/09/2016      170      $52.36      $8,901.20
                                            05/09/2016    151,195    $52.45   $7,930,177.75
                                            05/16/2016     60,000    $50.12   $3,007,254.00

                                                         1,503,324            $91,368,315.97                1,503,324            $79,053,967.94      ($12,314,348.03)

College Retirement Equities Fund - CREF
Stock Account                               07/27/2015    30,000     $67.64   $2,029,341.00    02/11/2016    10,141     $54.77    $555,394.18
                                            07/31/2015    5,000      $68.44    $342,215.00     03/15/2016     376       $56.77    $21,344.13
                                            08/19/2015    5,000      $69.23    $346,174.50     03/15/2016    4,698      $55.95    $262,829.61
                                            11/02/2015    1,567      $60.81    $95,292.72      03/15/2016    4,698      $55.96    $262,876.59
                                                                                                                                                  Exhibit C
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                                  11/02/2015    3,700    $60.85    $225,127.24    03/15/2016    4,698    $56.83    $266,987.34
                                  11/03/2015    2,580    $60.91    $157,149.09    03/15/2016    15,598   $56.63    $883,324.10
                                  11/03/2015    24,175   $62.15   $1,502,374.72   03/15/2016    39,932   $56.72   $2,265,130.72
                                  11/03/2015    30,825   $62.18   $1,916,553.62   03/22/2016    2,857    $54.13    $154,639.12
                                  11/03/2015    37,103   $62.03   $2,301,513.93   03/22/2016    8,815    $54.15    $477,341.95
                                  11/03/2015    60,050   $61.82   $3,712,008.77   03/22/2016    9,742    $54.15    $527,480.59
                                  11/04/2015    28,473   $61.17   $1,741,787.37   03/22/2016    23,586   $54.12   $1,276,368.18
                                  11/04/2015    36,527   $61.21   $2,235,949.17   03/31/2016    4,707    $53.67    $252,633.16
                                  11/16/2015      33     $58.38     $1,926.38     03/31/2016    7,045    $53.42    $376,379.12
                                  11/16/2015    1,300    $58.41    $75,932.48     03/31/2016    29,748   $53.67   $1,596,584.08
                                  11/16/2015    1,667    $58.58    $97,656.86     04/26/2016    1,344    $54.94    $73,837.34
                                  12/03/2015    8,173    $62.50    $510,812.50    04/26/2016    2,396    $54.97    $131,700.21
                                  12/03/2015    11,767   $62.50    $735,437.50    04/26/2016    9,207    $54.85    $504,964.36
                                  12/03/2015    17,033   $62.50   $1,064,562.50   04/26/2016    9,368    $54.70    $512,423.04
                                  12/09/2015     947     $64.87    $61,433.97     05/23/2016      19     $51.14      $971.65
                                  12/09/2015    13,583   $64.90    $881,550.28    05/23/2016    1,826    $51.17    $93,439.52
                                  12/11/2015    6,538    $64.49    $421,607.51    05/23/2016    4,684    $51.22    $239,934.62
                                  12/14/2015    1,309    $64.36    $84,248.94     05/23/2016    7,767    $51.26    $398,105.35
                                  12/14/2015    1,379    $64.80    $89,360.72     05/24/2016    4,746    $51.97    $246,633.96
                                  12/14/2015    4,744    $64.34    $305,233.23    05/24/2016    18,709   $51.77    $968,508.80
                                  12/14/2015    7,958    $64.86    $516,124.05    05/25/2016    13,031   $51.82    $675,259.90
                                  12/14/2015    9,461    $64.53    $610,483.32    05/31/2016    11,200   $51.77    $579,768.00
                                  12/18/2015    40,000   $65.54   $2,621,684.00   05/31/2016    23,800   $51.49   $1,225,462.00
                                  01/04/2016       9     $65.08      $585.72      05/31/2016   105,000   $51.71   $5,429,182.50
                                  01/04/2016     161     $65.14    $10,487.30     06/27/2016     938     $48.40    $45,399.76
                                  01/04/2016     497     $65.00    $32,303.46     06/27/2016    2,355    $48.28    $113,711.17
                                  01/04/2016    1,459    $65.15    $95,055.89     06/27/2016    2,355    $48.56    $114,358.80
                                  01/04/2016    2,603    $65.20    $169,728.61    06/27/2016    2,784    $48.45    $134,895.94
                                  01/04/2016    5,112    $65.12    $332,870.44    06/27/2016    21,704   $48.52   $1,053,049.86
                                  01/04/2016    5,547    $65.10    $361,109.70    06/28/2016     471     $49.24    $23,189.69
                                  01/04/2016    14,879   $64.90    $965,693.22    06/28/2016    1,773    $49.17    $87,174.15
                                  01/05/2016    14,000   $65.19    $912,697.80    06/28/2016    7,819    $49.21    $384,747.97
                                  01/07/2016     946     $64.51    $61,021.73     07/11/2016     424     $51.05    $21,644.90
                                  01/07/2016     946     $64.73    $61,229.85     07/11/2016    9,467    $51.05    $483,325.38
                                  01/07/2016    2,180    $64.73    $141,113.14    07/12/2016    4,992    $51.95    $259,333.40
                                  01/07/2016    11,080   $64.71    $716,990.12    07/12/2016    29,833   $51.79   $1,545,074.94
                                  01/22/2016    2,882    $63.26    $182,310.71    07/13/2016    8,913    $54.08    $482,048.91
                                  01/22/2016    10,412   $62.69    $652,702.25    07/13/2016    19,692   $54.13   $1,065,933.87
                                  01/25/2016    2,520    $63.14    $159,115.07    07/13/2016    26,305   $54.08   $1,422,674.36
                                  01/25/2016    6,500    $62.93    $409,069.05    07/13/2016    58,105   $54.13   $3,145,241.08
                                  01/25/2016    8,381    $63.14    $529,183.88    07/14/2016    5,237    $54.91    $287,577.29
                                  01/25/2016    21,619   $62.93   $1,360,563.66   07/14/2016    29,970   $54.81   $1,642,799.56
                                  01/26/2016    1,904    $63.44    $120,780.24    07/14/2016    41,767   $54.89   $2,292,740.99
                                  01/26/2016    1,904    $63.48    $120,856.40    07/15/2016    2,873    $54.29    $155,975.74
                                  01/26/2016    7,652    $63.44    $485,404.62    07/15/2016    12,518   $54.27    $679,398.18
                                  01/26/2016    7,652    $63.48    $485,710.70    07/21/2016    1,900    $55.12    $104,735.03
                                  01/26/2016    17,192   $63.13   $1,085,291.42   07/21/2016    18,100   $55.22    $999,391.50
                                  01/26/2016    69,106   $63.13   $4,362,502.84   07/26/2016    7,170    $54.22    $388,792.53
                                  01/27/2016   100,000   $63.35   $6,334,720.00   07/27/2016    42,639   $54.79   $2,336,033.05
                                  01/28/2016     557     $60.18    $33,523.04     07/28/2016    3,191    $54.99    $175,481.07
                                  01/28/2016    2,219    $60.27    $133,737.13    08/19/2016    31,600   $53.51   $1,690,758.00
                                                                                                                                  Exhibit C
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                                            01/28/2016    2,290      $60.13    $137,701.36      08/19/2016    40,036     $53.18   $2,128,982.36
                                            01/28/2016    11,959     $60.19    $719,831.34      08/29/2016    28,580     $50.81   $1,452,089.78
                                            01/28/2016    40,000     $60.39   $2,415,504.00     08/29/2016   100,784     $50.74   $5,113,538.28
                                            02/01/2016    4,000      $62.10    $248,400.00      10/12/2016    28,720     $44.10   $1,266,465.84
                                            02/04/2016    3,503      $59.88    $209,747.38      10/12/2016    41,280     $44.10   $1,820,456.26
                                            02/04/2016    15,952     $59.84    $954,530.99      10/19/2016      23       $43.24      $994.63
                                            02/05/2016      94       $59.29      $5,573.54      10/19/2016    56,231     $43.21   $2,429,825.86
                                            02/05/2016    2,487      $59.70    $148,483.85      11/03/2016    2,949      $43.25    $127,558.70
                                            02/09/2016    3,275      $57.56    $188,495.25      11/03/2016    6,040      $43.30    $261,515.09
                                            02/09/2016    31,725     $57.45   $1,822,756.70     11/07/2016    5,727      $40.67    $232,894.18
                                            02/11/2016    1,087      $54.04     $58,743.87      11/15/2016    6,900      $39.89    $275,223.75
                                            02/11/2016    2,413      $54.04    $130,408.65      11/22/2016    32,700     $39.33   $1,285,989.63
                                            02/29/2016    4,000      $55.99    $223,945.60      12/21/2016    7,275      $37.83    $275,187.06
                                            02/29/2016    6,029      $55.76    $336,207.18      12/21/2016    12,000     $37.83    $453,916.80
                                            02/29/2016    31,519     $55.82   $1,759,232.99        held      863,178     $37.61   $32,467,412.88
                                            02/29/2016    37,452     $55.63   $2,083,608.31
                                            03/10/2016    3,000      $58.87    $176,620.50
                                            04/05/2016    2,573      $54.17    $139,383.01
                                            04/05/2016    3,622      $54.14    $196,085.30
                                            04/05/2016    7,582      $54.13    $410,450.81
                                            05/09/2016      28       $52.36      $1,466.08
                                            05/09/2016    25,059     $52.45   $1,314,344.55
                                            05/16/2016    13,000     $50.12    $651,571.70
                                            05/18/2016    5,176      $52.02    $269,229.64
                                            05/18/2016    5,272      $52.02    $274,258.40
                                            05/18/2016    32,279     $52.02   $1,679,305.29
                                            05/19/2016    12,988     $51.79    $672,691.38
                                            05/19/2016   104,285     $51.69   $5,390,522.94
                                            11/03/2016   883,596     $39.20   $34,636,963.20

                                                         2,007,056            $102,255,963.17                2,007,056            $90,987,042.32      ($11,268,920.85)

College Retirement Equities Fund - CREF
Global Equities Account                     09/29/2014    90,000     $53.82    $4,844,223.00    02/11/2016    81,398     $54.77   $4,457,940.55
                                            07/27/2015    60,000     $67.64    $4,058,682.00    02/22/2016    11,052     $57.22    $632,395.44
                                            07/31/2015    12,000     $68.44     $821,316.00     02/22/2016    81,055     $57.40   $4,652,865.01
                                            08/19/2015    10,000     $69.23     $692,349.00     03/15/2016     424       $56.77    $24,068.91
                                            11/02/2015    3,133      $60.81     $190,524.62     03/15/2016    5,302      $55.95    $296,620.39
                                            11/02/2015    7,400      $60.85     $450,254.48     03/15/2016    5,302      $55.96    $296,673.41
                                            11/03/2015    5,159      $60.91     $314,237.27     03/15/2016    5,302      $56.83    $301,312.66
                                            11/03/2015    48,357     $62.15    $3,005,184.45    03/15/2016    17,602     $56.63    $996,811.82
                                            11/03/2015    61,643     $62.18    $3,832,672.02    03/15/2016    45,068     $56.72   $2,556,468.78
                                            11/03/2015    74,204     $62.03    $4,602,903.80    03/22/2016    3,300      $54.13    $178,617.12
                                            11/03/2015   120,104     $61.82    $7,424,264.79    03/22/2016    10,185     $54.15    $551,528.95
                                            11/04/2015    56,952     $61.17    $3,483,941.78    03/22/2016    11,258     $54.15    $609,564.41
                                            11/04/2015    73,048     $61.21    $4,471,531.05    03/22/2016    27,257     $54.12   $1,475,026.18
                                            11/16/2015      67       $58.38      $3,911.13      03/31/2016    14,805     $53.67    $794,611.00
                                            11/16/2015    2,600      $58.41     $151,864.96     03/31/2016    22,155     $53.43   $1,183,630.88
                                            11/16/2015    3,333      $58.58     $195,255.14     03/31/2016    93,540     $53.67   $5,020,319.86
                                            12/18/2015    80,000     $65.54    $5,243,368.00    05/31/2016    12,800     $51.77    $662,592.00
                                            01/05/2016    40,000     $65.19    $2,607,708.00    05/31/2016    27,200     $51.49   $1,400,528.00
                                                                                                                                                   Exhibit C
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                                       01/26/2016    4,551      $63.44    $288,692.69     05/31/2016   120,000     $51.71   $6,204,780.00
                                       01/26/2016    4,551      $63.48    $288,874.73     07/13/2016    15,644     $54.08    $846,086.97
                                       01/26/2016    5,893      $63.44    $373,822.46     07/13/2016    20,113     $54.08   $1,087,787.47
                                       01/26/2016    5,893      $63.47    $374,058.17     07/13/2016    34,558     $54.13   $1,870,634.91
                                       01/26/2016    41,100     $63.13   $2,594,548.47    07/13/2016    44,439     $54.13   $2,405,496.40
                                       01/26/2016    53,214     $63.13   $3,359,277.43    08/19/2016    9,500      $53.51    $508,297.50
                                       02/01/2016    6,000      $62.10    $372,600.00     08/19/2016    30,589     $53.51   $1,636,664.45
                                       02/11/2016    3,263      $54.04    $176,339.70     08/19/2016    41,500     $53.47   $2,218,797.50
                                       02/11/2016    7,237      $54.04    $391,117.88     08/29/2016    33,085     $50.81   $1,680,979.37
                                       02/29/2016    4,000      $55.99    $223,945.60     08/29/2016   116,675     $50.74   $5,919,809.48
                                       02/29/2016    6,671      $55.77    $372,008.32     10/12/2016    1,400      $44.18    $61,854.52
                                       02/29/2016    34,881     $55.82   $1,946,883.02    10/12/2016    19,000     $44.19    $839,515.00
                                       02/29/2016    41,448     $55.63   $2,305,922.18    10/12/2016    24,880     $44.10   $1,097,133.36
                                       03/10/2016    15,000     $58.87    $883,102.50     10/12/2016    35,759     $44.10   $1,576,979.05
                                       05/18/2016    5,824      $52.02    $302,935.36     10/19/2016      36       $43.25     $1,556.82
                                       05/18/2016    5,932      $52.02    $308,592.72     10/19/2016    87,269     $43.21   $3,771,024.39
                                       05/18/2016    36,314     $52.02   $1,889,224.96    11/08/2016    1,442      $39.93    $57,579.06
                                       05/19/2016    14,612     $51.79    $756,803.70     11/16/2016    1,214      $39.69    $48,178.32
                                       05/19/2016   117,318     $51.69   $6,064,202.62    11/18/2016    1,176      $39.51    $46,464.82
                                       09/12/2016    37,750     $51.13   $1,930,014.05    12/16/2016    19,137     $37.97    $726,618.49
                                       11/03/2016    89,687     $39.20   $3,515,730.40    12/16/2016    54,863     $37.97   $2,083,109.71
                                                                                          12/16/2016    16,000     $37.97    $607,508.80
                                                                                             held       85,855     $37.61   $3,229,333.62

                                                    1,289,139            $75,112,888.40                1,289,139            $64,617,765.37      ($10,495,123.03)

TIAA-CREF Funds - TIAA-CREF Large-
Cap Growth Fund                        12/03/2015    57,439     $62.50   $3,589,937.50    04/26/2016    4,745      $54.94    $260,683.18
                                       12/09/2015    3,195      $64.87    $207,266.68     04/26/2016    8,461      $54.97    $465,073.25
                                       12/09/2015    45,788     $64.90   $2,971,686.99    04/26/2016    32,510     $54.85   $1,783,033.71
                                       12/11/2015    22,047     $64.49   $1,421,716.23    04/26/2016    33,080     $54.70   $1,809,452.84
                                       12/14/2015    4,418      $64.36    $284,348.22     05/23/2016      67       $51.14     $3,426.35
                                       12/14/2015    4,652      $64.80    $301,454.72     05/23/2016    6,504      $51.17    $332,820.74
                                       12/14/2015    15,990     $64.34   $1,028,810.99    05/23/2016    16,688     $51.22    $854,831.12
                                       12/14/2015    26,832     $64.86   $1,740,216.19    05/23/2016    27,668     $51.26   $1,418,151.01
                                       12/14/2015    31,906     $64.53   $2,058,776.13    05/24/2016    16,809     $51.97    $873,508.26
                                       01/04/2016      30       $65.08     $1,952.40      05/24/2016    66,649     $51.77   $3,450,218.78
                                       01/04/2016     542       $65.14    $35,305.07      05/25/2016    46,145     $51.82   $2,391,210.83
                                       01/04/2016    1,674      $65.00    $108,804.81     06/01/2016    2,406      $52.50    $126,324.14
                                       01/04/2016    4,918      $65.15    $320,414.59     06/07/2016    2,388      $54.15    $129,298.74
                                       01/04/2016    8,773      $65.21    $572,043.47     06/27/2016    3,287      $48.40    $159,092.77
                                       01/04/2016    17,230     $65.12   $1,121,940.07    06/27/2016    8,256      $48.29    $398,640.96
                                       01/04/2016    18,694     $65.10   $1,216,979.40    06/27/2016    8,256      $48.56    $400,911.36
                                       01/04/2016    50,166     $64.90   $3,255,928.91    06/27/2016    9,758      $48.45    $472,814.13
                                       01/07/2016    3,190      $64.51    $205,770.95     06/27/2016    76,077     $48.52   $3,691,157.14
                                       01/07/2016    3,190      $64.73    $206,472.75     06/28/2016    1,651      $49.23    $81,286.98
                                       01/07/2016    7,349      $64.73    $475,706.65     06/28/2016    6,214      $49.17    $305,527.47
                                       01/07/2016    37,349     $64.71   $2,416,864.99    06/28/2016    27,407     $49.21   $1,348,610.77
                                       01/22/2016    9,731      $63.26    $615,567.49     07/11/2016    1,487      $51.05    $75,910.31
                                       01/22/2016    35,150     $62.69   $2,203,465.63    07/11/2016    33,203     $51.05   $1,695,136.00
                                       01/25/2016    8,506      $63.14    $537,076.50     07/12/2016    17,502     $51.95    $909,225.40
                                                                                                                                             Exhibit C
                                                                                                                                                  022
Movant's Purchases and Losses           Case 3:17-cv-00558-SRU Document 23-3 Filed 01/05/17 Page 6 of 7                                      Teva Pharmaceutical

                                          01/25/2016   21,945    $62.93   $1,381,080.05    07/12/2016   104,637   $51.79   $5,419,233.94
                                          01/28/2016   1,893     $60.19    $113,930.21     07/14/2016    18,373   $54.91   $1,008,909.20
                                          01/28/2016   7,538     $60.27    $454,308.48     07/14/2016   105,136   $54.81   $5,763,008.81
                                          01/28/2016   7,774     $60.13    $467,463.06     07/15/2016    10,076   $54.29    $547,028.06
                                          01/28/2016   40,618    $60.19   $2,444,862.41    07/15/2016    43,915   $54.27   $2,383,429.54
                                          02/01/2016   11,987    $61.97    $742,829.60
                                          02/04/2016   11,907    $59.88    $712,949.49
                                          02/04/2016   54,209    $59.84   $3,243,741.88
                                          02/05/2016    321      $59.29    $19,033.05
                                          02/05/2016   8,450     $59.70    $504,498.80
                                          02/17/2016   7,894     $58.17    $459,158.46
                                          03/30/2016   1,808     $55.38    $100,127.04
                                          03/30/2016   6,494     $55.38    $359,637.72
                                          04/05/2016   9,072     $54.17    $491,442.94
                                          04/05/2016   12,765    $54.14    $691,062.63
                                          04/05/2016   26,729    $54.13   $1,446,971.74
                                          05/09/2016    100      $52.36     $5,236.00
                                          05/09/2016   89,092    $52.45   $4,672,875.40

                                                       739,355            $45,209,716.25                739,355            $38,557,955.77       ($6,651,760.48)

TIAA-CREF Funds - TIAA-CREF
International Equity Index Fund           11/02/2016    4,853    $43.30    $210,145.58     11/30/2016     900     $38.96     $35,064.00
                                          11/03/2016   563,861   $39.20   $22,103,351.20      held      567,814   $37.61   $21,357,647.64

                                                       568,714            $22,313,496.78                568,714            $21,392,711.64        ($920,785.14)

TIAA-CREF Funds - TIAA-CREF Growth &
Income Fund                               07/27/2015   79,677    $67.64   $5,389,726.76    08/17/2015    400      $68.60    $27,440.00
                                          10/05/2015    100      $60.41     $6,041.00      08/31/2015    350      $64.59    $22,606.50
                                                                                           10/07/2015   24,237    $57.28   $1,388,343.83
                                                                                           10/07/2015   54,790    $57.19   $3,133,231.90

                                                       79,777             $5,395,767.76                 79,777             $4,571,622.23         ($824,145.53)

TIAA-CREF Life Funds - TIAA-CREF Life
Growth Equity Fund                        12/03/2015    1,369    $62.50    $85,562.50      04/26/2016     105     $54.94     $5,768.54
                                          12/09/2015      76     $64.87     $4,930.29      04/26/2016     186     $54.97    $10,223.81
                                          12/09/2015    1,091    $64.90    $70,806.99      04/26/2016     716     $54.85    $39,269.52
                                          12/11/2015     526     $64.49    $33,919.48      04/26/2016     730     $54.70    $39,930.49
                                          12/14/2015     106     $64.36     $6,822.30      05/05/2016     130     $53.51     $6,956.30
                                          12/14/2015     111     $64.80     $7,192.92      05/17/2016     114     $51.18     $5,834.52
                                          12/14/2015     381     $64.34    $24,513.88      05/23/2016       1     $51.14      $51.14
                                          12/14/2015     639     $64.86    $41,442.98      05/23/2016     141     $51.17     $7,215.21
                                          12/14/2015     760     $64.53    $49,039.99      05/23/2016     363     $51.22    $18,594.42
                                          01/04/2016       1     $65.08       $65.08       05/23/2016     601     $51.26    $30,804.86
                                          01/04/2016      13     $65.14      $846.80       05/24/2016     358     $51.97    $18,604.08
                                          01/04/2016      40     $65.00     $2,599.88      05/24/2016    1,448    $51.77    $74,958.62
                                          01/04/2016     114     $65.15     $7,427.26      05/25/2016     984     $51.82    $50,990.39
                                          01/04/2016     203     $65.21    $13,236.62      06/01/2016     107     $52.50     $5,617.95
                                          01/04/2016     399     $65.12    $25,981.08      06/07/2016      44     $54.15     $2,382.38
                                                                                                                                            Exhibit C
                                                                                                                                                 023
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                                                      01/04/2016              432      $65.10      $28,123.20               06/27/2016      70       $48.40      $3,388.04
                                                      01/04/2016             1,188     $64.90      $77,104.88               06/27/2016     175       $48.29      $8,449.88
                                                      01/07/2016               75      $64.51       $4,837.88               06/27/2016     175       $48.56      $8,498.00
                                                      01/07/2016               75      $64.73       $4,854.38               06/27/2016     207       $48.45     $10,029.98
                                                      01/07/2016              173      $64.73      $11,198.43               06/27/2016    1,613      $48.52     $78,260.66
                                                      01/07/2016              880      $64.71      $56,945.06               06/28/2016      35       $49.23      $1,723.22
                                                      01/22/2016              211      $63.26      $13,347.52               06/28/2016     132       $49.17      $6,490.12
                                                      01/22/2016              762      $62.69      $47,767.87               06/28/2016     581       $49.21     $28,589.15
                                                      01/25/2016              185      $63.14      $11,681.07               07/11/2016      32       $51.05      $1,633.58
                                                      01/25/2016              476      $62.93      $29,956.44               07/11/2016     704       $51.05     $35,941.80
                                                      01/28/2016               43      $60.18       $2,587.95               07/12/2016     371       $51.95     $19,273.38
                                                      01/28/2016              171      $60.27      $10,306.02               07/12/2016    2,219      $51.79     $114,923.79
                                                      01/28/2016              177      $60.13      $10,643.29               07/14/2016     390       $54.91     $21,415.91
                                                      01/28/2016              922      $60.19      $55,496.66               07/14/2016    2,232      $54.81     $122,346.63
                                                      02/04/2016              272      $59.88      $16,286.41               07/15/2016     213       $54.29     $11,563.81
                                                      02/04/2016             1,240     $59.84      $74,198.75               07/15/2016     932       $54.27     $50,583.09
                                                      02/05/2016                8      $59.29        $474.34
                                                      02/05/2016              193      $59.70      $11,522.87
                                                      04/05/2016              163      $54.17       $8,829.94
                                                      04/05/2016              229      $54.14      $12,397.44
                                                      04/05/2016              480      $54.13      $25,984.75
                                                      05/09/2016                2      $52.36        $104.72
                                                      05/09/2016             1,923     $52.45      $100,861.35

                                                                            16,109                 $989,899.26                            16,109                $840,313.25          ($149,586.00)

TIAA-CREF Life Funds - TIAA-CREF Life
Growth & Income Fund                                  07/27/2015             2,499     $67.64      $169,044.11              08/12/2015      20       $69.79      $1,395.80
                                                      09/18/2015               10      $63.90        $639.00                10/07/2015     763       $57.28     $43,706.17
                                                                                                                            10/07/2015    1,726      $57.19     $98,703.38

                                                                             2,509                 $169,683.11                            2,509                 $143,805.35          ($25,877.76)


TIAA-CREF Funds - TIAA-CREF Enhanced
International Equity Index Fund
                                                      11/03/2016           120,703     $39.20     $4,731,557.60             11/03/2016    46,800     $42.45    $1,986,557.04
                                                                                                                            11/30/2016    34,400     $38.96    $1,340,224.00
                                                                                                                            12/02/2016    29,003     $38.72    $1,122,967.16
                                                                                                                            12/02/2016    10,500     $38.72     $406,549.50

                                                                           120,703                $4,731,557.60                          120,703               $4,856,297.70         $124,740.10


Movant's Total                                                            6,326,686             $347,547,288.30                          6,326,686            $305,021,481.58      ($42,525,806.72)


*For shares held at the end of the class period, losses are calculated by multiplying the shares held by the average share price
 during the 90 calendar days after the end of the class period. The price used is $37.61 as of January 05, 2017 for ADR.

**For post-class period sales, either the actual price or the mean price (end of class period to the actual post-class sale price)
 will be used depending on which value is higher.
                                                                                                                                                                                Exhibit C
                                                                                                                                                                                     024
